Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 1 of 19




                          FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT


         KAYLA WILLIS; REAVY                       No. 18-35053
         WASHINGTON; LISA HOOPER;
         BRANDIE OSBORNE, individually and            D.C. No.
         on behalf of a class of similarly         2:17-cv-00077-
         situated individuals; THE EPISCOPAL            RSM
         DIOCESE OF OLYMPIA; TRINITY
         PARISH OF SEATTLE; REAL CHANGE,
                          Plaintiffs-Appellants,     OPINION

                           v.

         CITY OF SEATTLE; WASHINGTON
         STATE DEPARTMENT OF
         TRANSPORTATION; ROGAR MILLAR,
         Secretary of Transportation for
         WSDOT, in his official capacity,
                        Defendants-Appellees.


              Appeal from the United States District Court
                 for the Western District of Washington
           Ricardo S. Martinez, Chief District Judge, Presiding

                  Argued and Submitted February 4, 2019
                           Seattle, Washington

                         Filed November 29, 2019
Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 2 of 19




        2                  WILLIS V. CITY OF SEATTLE

            Before: Sandra S. Ikuta and Morgan Christen, Circuit
                 Judges, and Jennifer Choe-Groves,* Judge.

                     Opinion by Judge Choe-Groves;
         Partial Concurrence and Partial Dissent by Judge Christen


                                   SUMMARY**


                                     Civil Rights

            The panel affirmed the district court’s denial of class
        certification in an action challenging the procedures by which
        the City of Seattle and the Washington State Department of
        Transportation remove unauthorized encampments, camping
        equipment, and personal property left on city-owned
        property.

            Appellants asserted in their motion for class certification
        that the City and the Department of Transportation engaged
        in an alleged policy and practice of “sweeps” that destroyed
        property, violating the unreasonable seizure and due process
        clauses under both the U.S. Constitution and the Washington
        State Constitution.

            The panel held that Appellants failed to proffer sufficient
        evidence and articulate a practice that was common to the


            *
             The Honorable Jennifer Choe-Groves, Judge for the United States
        Court of International Trade, sitting by designation.
            **
              This summary constitutes no part of the opinion of the court. It has
        been prepared by court staff for the convenience of the reader.
Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 3 of 19




                         WILLIS V. CITY OF SEATTLE                      3

        claims of the proposed class in their motion for class
        certification. The panel concluded that it was not an abuse of
        discretion for the district court to hold that an alleged practice
        affecting each of the Appellants was not discernable from the
        record and to deny Appellants’ class action certification
        accordingly. The panel disagreed with the dissent’s assertion
        that Appellants’ motion for class certification raised a facial
        challenge to defendants’ policies as a basis for establishing
        commonality for purposes of Fed. R. Civ. P. 23(a).

            Concurring in part and dissenting in part, Judge Christen
        agreed, under the circumstances of this case, that plaintiffs
        failed to show that their as-applied claims posed common
        questions for purposes of Fed. R. Civ. P. 23(a). Judge
        Christen stated, however, that plaintiffs also presented
        distinct facial challenges to defendants’ camp cleanup
        policies and the order denying class certification did not
        address these policies. Because the order denying class
        certification made no mention of plaintiffs’ facial claims,
        Judge Christen would remand for the district court to consider
        this issue in the first instance.
Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 4 of 19




        4              WILLIS V. CITY OF SEATTLE

                               COUNSEL

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Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 5 of 19




                         WILLIS V. CITY OF SEATTLE                     5

                                  OPINION

        CHOE-GROVES, Judge:

            Multi-Departmental Administrative Rules 08-01 (“MDAR
        08-01”), enacted by the City of Seattle in 2008, establish, in
        part, standard procedures for the removal of unauthorized
        encampments, camping equipment, and personal property left
        on city-owned property. The City of Seattle amended its
        encampment rules in 2017 by promulgating Multi-
        Departmental Administrative Rules 17-01 (“MDAR 17-01”).
        The Washington State Department of Transportation
        (“WSDOT”) has adopted guidelines instituting similar
        removal procedures for unauthorized encampments on state
        property, titled “WSDOT’s Guidelines to Address Illegal
        Encampments within State Right of Way” (“WSDOT
        Guidelines”). Kayla Willis, Lisa Hooper, Brandie Osborne,
        and Reavy Washington (collectively, “Appellants”) are four
        individuals who live outside on public property and seek to
        represent a class of approximately 2,000 other people
        similarly situated. They appeal the district court’s order
        denying a motion for class certification under Rule 23(b)(2)
        of the Federal Rules of Civil Procedure.

            Referencing the MDARs and the WSDOT Guidelines
        (collectively, “Defendants’ written policies”), Appellants
        asserted in their motion for class certification that the City of
        Seattle and WSDOT engaged in an alleged policy and
        practice of “sweeps” that destroyed property, violating the
        unreasonable seizure and due process clauses under both the
        U.S. Constitution and the Washington State Constitution. By
        bringing this action on behalf of themselves and all others
        similarly situated, Appellants sought declaratory and
        injunctive relief from the “sweeps.” The district court found
Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 6 of 19




        6                 WILLIS V. CITY OF SEATTLE

        that Appellants satisfied the numerosity requirement of
        Rule 23, but concluded that Appellants failed to establish
        sufficiently the existence of a practice that applied uniformly
        to all proposed class members and was subject to resolution
        in a single action. The district court denied the motion for
        class certification for failure to satisfy all the requirements of
        Rule 23(a).

            We have jurisdiction pursuant to 28 U.S.C. § 1292(e) and
        Rule 23(f) of the Federal Rules of Civil Procedure, and
        review a district court’s order on class certification for an
        abuse of discretion. Parra v. Bashas’, Inc., 536 F.3d 975,
        977 (9th Cir. 2008) (citing Molski v. Gleich, 318 F.3d 937,
        946 (9th Cir. 2003)).

             To receive class action treatment, the proposed lead
        plaintiffs must meet the four requirements of Rule 23(a) and
        at least one requirement of Rule 23(b). Under Rule 23(a), a
        party must show: “(1) the class is so numerous that joinder of
        all members is impracticable; (2) there are questions of law
        or fact common to the class; (3) the claims or defenses of the
        representative parties are typical of the claims or defenses of
        the class; and (4) the representative parties will fairly and
        adequately protect the interests of the class.” Fed. R. Civ.
        P. 23(a). To meet the second prong, commonality, a party
        must demonstrate that they and the proposed class members
        have suffered the same injury and have claims that depend on
        a common contention capable of class-wide resolution. Wal-
        Mart Stores, Inc. v. Dukes, 564 U.S. 338, 349–50 (2011).
        Capable of class-wide resolution “means that determination
        of its truth or falsity will resolve an issue that is central to the
        validity of each one of the claims in one stroke.” Id. at 350.
        The commonality element may be fulfilled if the court can
        determine “in one stroke” whether a single policy or practice
Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 7 of 19




                         WILLIS V. CITY OF SEATTLE                     7

        which the proposed class members are all subject to “expose
        them to a substantial risk of harm.” Parsons v. Ryan,
        754 F.3d 657, 678 (9th Cir. 2014). “These policies and
        practices are the ‘glue’ that holds together the putative class
        . . . either each of the policies and practices is unlawful as to
        every [proposed member] or it is not.” Id. Allegations of
        individual instances of mistreatment, without sufficient
        evidence, do not constitute a systemic deficiency or
        overarching policy of wrongdoing. See id. at 683–84 & n.28
        (stating that “precedent does not hold that utterly threadbare
        allegations that a group is exposed to illegal policies and
        practices are enough to confer commonality,” and concluding
        that inmates provided “sufficient evidence of systemic and
        centralized policies or practices in a prison system that
        allegedly expose all inmates in that system to a substantial
        risk of serious future harm” to meet the requirements of
        Rule 23(a)).

            Here, Appellants failed to proffer sufficient evidence and
        articulate a practice that was common to the claims of the
        proposed class in their motion for class certification.
        Appellants presented five bases for commonality before the
        district court in their motion, and each basis relates to
        whether Defendants’ course of conduct, such as failing to
        provide adequate notice and removing or destroying personal
        property, raises a common question. Although the record
        contains voluminous declarations, photographs, and videos in
        support of a broad description of “sweeps,” Appellants
        notably do not point to a specific practice that applies
        uniformly to all proposed class members. Despite the broad
        allegations in their complaint, there is no evidence that every
        Appellant has experienced the same challenged practice or
        suffered the same injury due to the implementation of the
        MDARs or the WSDOT Guidelines. In fact, Appellants
Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 8 of 19




        8                WILLIS V. CITY OF SEATTLE

        themselves acknowledged that “each sweep is different.” We
        conclude that it was not an abuse of discretion for the district
        court to hold that an alleged practice affecting each of the
        Appellants was not discernable from the record and to deny
        Appellants’ class action certification accordingly.

            We cannot agree with our dissenting colleague that
        Appellants’ motion for class certification raises a facial
        challenge to the MDARs or the WSDOT Guidelines as a
        basis for establishing commonality for purposes of
        Rule 23(a). “A facial challenge is an attack on a law itself as
        opposed to a particular application.” City of Los Angeles v.
        Patel, ___U.S. ___, ___, 135 S. Ct. 2443, 2449 (2015). Such
        challenges are considered the most difficult to mount
        successfully. See id. A facial challenge is a claim that a law
        or policy is unconstitutional in all of its applications. See id.
        at 2451. When assessing whether a law or policy meets this
        standard in the context of a Fourth Amendment challenge, a
        court considers only those applications of the law in which it
        actually authorizes conduct. See id.

            Appellants articulated only the following five questions
        of fact and law in support of their commonality argument in
        their motion for class certification:

                (1) whether Defendants have a practice and
                policy of seizing and destroying the personal
                property of people living outside without a
                warrant, probable cause, adequate notice, an
                opportunity to have a meaningful pre- or post-
                deprivation hearing, or an opportunity to
                retrieve vital personal property before its
                seizure or destruction; (2) whether
                Defendants’ policy and practice violates
Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 9 of 19




                           WILLIS V. CITY OF SEATTLE                           9

                 Plaintiffs’ constitutional rights against
                 unreasonable search and seizures under the
                 U.S. Constitution; ([3]) whether Defendants’
                 custom, policy, or practice violates class
                 members’ right to privacy under Article I,
                 Section 7 of the Washington State
                 Constitution; and ([4]) whether Defendants’
                 custom, policy, or practice violates class
                 members’ constitutional rights to due process
                 under the U.S. Constitution; and ([5]) whether
                 Defendants’ custom, policy, or practice
                 violates class members’ constitutional rights
                 to due process under Article I, Section 3 of the
                 Washington State Constitution.

        None of these five questions of fact or law challenges a
        written law or policy as unconstitutional. The “practice and
        policy” to which these questions allude is Defendants’ alleged
        pattern of destroying personal property “with utter disregard
        of even their own regulations.”1 Appellants have not
        suggested that an attack on the regulations themselves
        supplies a common question of fact or law.

            In making their commonality argument, Appellants also
        did not claim that Defendants’ policies are unconstitutional in


            1
              In their motion for class certification, Appellants claimed that
        “Defendants have conducted these sweeps sporadically, unpredictably,
        and with utter disregard of even their own regulations . . . . Defendants
        have failed to follow any consistent procedure . . . . Rather, Defendants
        frequently intentionally and summarily seize and/or destroy personal
        property and possessions within a targeted area, without a warrant or
        probable cause, without providing adequate and effective notice, without
        affording an opportunity to be heard, and without providing a meaningful
        opportunity for people to retrieve their belongings.”
Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 10 of 19




        10               WILLIS V. CITY OF SEATTLE

        all relevant applications, which is required for a facial
        challenge. See Patel, ___ U.S. at ___, 135 S. Ct. at 2451. On
        the contrary, Appellants acknowledge that Defendants’
        allegedly unconstitutional “pattern or practice is a usual
        course of conduct, and the fact that Defendants may have
        occasionally deviated from that course does not defeat
        certification.”

            Appellants themselves have dismissed the relevance of a
        facial challenge as a basis for commonality, stating that “[t]he
        City’s argument that Plaintiffs have not facially challenged
        Defendants’ policies or practices is irrelevant to class
        certification because Plaintiffs have shown that Defendants’
        conduct places all unhoused persons in Seattle at risk.”

            Because Appellants’ commonality argument before the
        district court rested upon extra-regulatory conduct, we decline
        to read Appellants’ argument as premised upon a facial
        challenge.       We also decline to rewrite Appellants’
        commonality argument for them to include a facial challenge.
        See Just Film, Inc. v. Buono, 847 F.3d 1108, 1115 (9th Cir.
        2017) (“The party seeking class certification bears the burden
        of demonstrating that the class meets the requirements of
        Federal Rule of Civil Procedure 23.”). Doing so would run
        contrary to the fundamental principle that courts should
        neither anticipate a question of constitutional law in advance
        of the necessity of deciding it nor formulate a rule of
        constitutional law broader than is required by the precise facts
        to which it is to be applied. See Washington State Grange v.
        Washington State Republican Party, 552 U.S. 442, 450
        (2008).

           The dissent cobbles together statements from the “Factual
        Background” section of Appellants’ motion for class
Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 11 of 19




                           WILLIS V. CITY OF SEATTLE                        11

        certification to argue that Appellants adequately presented a
        facial challenge to the MDAR and WSDOT Guidelines as a
        basis for establishing commonality. We disagree. Appellants
        mention in passing in their motion that sweeps were
        conducted “pursuant to official policies,” and later that the
        policies “fail on their face to provide requisite procedural
        safeguards.” The Appellants’ Second Amended Complaint
        also makes general and conclusory statements about the
        Guidelines’ deficiencies, without arguing that a single policy
        would be unconstitutional in all its applications.2 But when
        Appellants actually provide their argument to the district
        court regarding why class members share common questions
        of law and fact, Appellants do not explain how any alleged
        facial deficiencies in the Guidelines raise such common
        questions, or how any such deficiencies caused class
        members to suffer the “same injury.” Wal-Mart Stores, Inc.
        v. Dukes, 564 U.S. 338, 350 (2011). Because it was not
        presented with a distinct argument regarding how facial
        deficiencies in the Guidelines raise questions of law or fact
        common to the class, the district court did not err in declining
        to rule on this issue when deciding the motion for class
        certification. Instead, it properly addressed arguments relating
        to facial challenges only when ruling on the Appellants’
        motion for preliminary injunction, where such facial
        challenges were raised.

            Even if the isolated statements that the dissent has
        plucked from the Appellants’ motion had been argued in the
        motion as a basis for commonality, Appellants’ claim would


            2
               The dissent claims that the Appellants argue that “the policy
        allowing the destruction of property valued at less than $100 cannot be
        carried out in a constitutional manner.” No such cognizable argument
        appears in the operative complaint.
Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 12 of 19




        12               WILLIS V. CITY OF SEATTLE

        not present a cognizable facial challenge. Appellants’
        arguments primarily focus on how the Guidelines give
        employees too much discretion, rather than identify how any
        alleged deficiency resulted in a common injury to the
        constitutional or statutory rights of all class members. Under
        Dukes, such challenges do not “provide the commonality
        needed for a class action.” Id. at 355.

            Based upon Appellants’ failure to proffer sufficient
        evidence of a practice that was common to the claims of the
        proposed class members or lodge a facial challenge in
        satisfaction of the Rule 23(a) commonality requirement, we
        readily conclude that the district court’s refusal to grant class
        certification was not an abuse of discretion.

             AFFIRMED.



        CHRISTEN, Circuit Judge, concurring in part and dissenting
        in part:

            Under the circumstances of this case, I agree that
        plaintiffs failed to show their as-applied claims pose common
        questions for purposes of Fed. R. Civ. P. 23(a), but plaintiffs
        also presented distinct facial challenges to defendants’ camp
        cleanup policies and the order denying class certification did
        not address them. My colleagues respond to plaintiffs’ facial
        challenges in two ways. First, they decide plaintiffs failed to
        present any. Then, they pivot and acknowledge plaintiffs
        raised facial arguments but decide that the district court was
        not required to rule on them. Because the record plainly
        shows that plaintiffs brought facial challenges, and because
Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 13 of 19




                        WILLIS V. CITY OF SEATTLE                   13

        I know of no authority allowing the claims to be overlooked,
        I respectfully dissent.

                                  *   *    *

            Plaintiffs filed a motion for class certification and a
        motion for preliminary injunction. Plaintiffs based both
        motions on the allegations found in the Second Amended
        Complaint. The motions were argued simultaneously and the
        district court issued one order. The transcript of the hearing,
        as well as the district court’s order, confirm that the court
        recognized plaintiffs presented facial challenges.

           The written order denying plaintiffs’ motions discussed
        and summarized plaintiffs’ facial constitutional claims:

               Plaintiffs contend they are likely to succeed
               on the merits of their Fourth and Fourteenth
               Amendment claims for two reasons. Plaintiffs
               first argue the City’s Updated Encampment
               Rules are unconstitutional on their face. To
               support this argument, Plaintiffs contend the
               Updated Encampment Rules’ definitions of
               “personal property,” and “hazardous items,”
               violate the Fourth Amendment. Plaintiffs also
               contend the Updated Encampment Rules are
               facially unconstitutional under the Fourteenth
               Amendment because their definitions of
               “obstruction,” “immediate hazard,” and the
               creation of “emphasis areas,” essentially do
               away with pre-seizure notice and provide City
               personnel with too much discretion.
Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 14 of 19




        14                WILLIS V. CITY OF SEATTLE

        (emphasis added). The district court inquired about these
        claims at the hearing on plaintiffs’ motions. The district court
        stated, “plaintiffs’ concern is . . . based on the city’s policies,”
        correctly observed that “Plaintiffs are basically raising an
        official challenge to the MDARs,” and asked the City why
        that claim was not “common to all the proposed class
        members here[.]” Leaving no doubt that facial challenges
        were on the table, the City conceded “a facial challenge
        would be common[,]” but urged the district court to deny
        plaintiffs’ motion for class certification because there was
        “really essentially no merit to the facial challenge” plaintiffs
        asserted. The City was right to concede the existence of the
        facial claims, but it badly missed the mark when it conflated
        the merits of the facial claims with whether the claims
        presented a common question. Whether a facial challenge is
        meritorious is the answer to a common question; it is not a
        reason to deny class certification. See Amgen, Inc. v. Conn.
        Ret. Plans & Tr. Funds, 568 U.S. 455, 466 (2013) (“Rule 23
        grants courts no license to engage in free-ranging merits
        inquiries at the certification stage.”).

            A cursory review of plaintiffs’ motion for class
        certification shows that they did indeed articulate distinct
        facial challenges to defendants’ cleanup policies. Plaintiffs
        argued that the City’s “official policies fail on their face to
        provide requisite procedural safeguards to ensure that the
        rights of people living outside are not violated when a sweep
        is conducted[,]” and “Defendants’ policies contemplate on
        their face arbitrary enforcement and unbridled employee
        discretion, and lack meaningful oversight and enforcement
        mechanisms.” (emphasis added). The majority initially
        asserts that plaintiffs did not raise a facial challenge at all.
Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 15 of 19




                            WILLIS V. CITY OF SEATTLE                           15

        Majority Opinion at 8 (“We cannot agree . . . that Appellants’
        motion for class certification raises a facial challenge . . . .”).1

            After denying that plaintiffs raised facial challenges, the
        majority retreats, acknowledges that plaintiffs did raise such
        claims, but decides the court was not obliged to rule on them.
        The majority contends that plaintiffs’ facial arguments were
        made in the wrong section of plaintiffs’ motions, or were
        made only in passing. Majority Opinion at 10–11. The
        salient point is that the district court correctly recognized that
        plaintiffs raised facial challenges in the operative complaint
        and in connection with their motion for class certification.
        Despite the majority’s attempts to wave these arguments
        away, I know of no rule permitting them to be brushed aside
        without a ruling.

            The majority cites City of Los Angeles v. Patel, 135 S. Ct.
        2443 (2015), and concludes that plaintiffs must not have
        raised facial challenges because they “did not claim
        Defendants’ policies are unconstitutional in all relevant
        applications, [as] required for a facial challenge.” Majority
        Opinion at 9–10. But the complaint alleged precisely that.
        Specifically, plaintiffs alleged “[e]ven if Defendants’ sweeps
        were conducted fully in accordance with both the MDAR and
        the WSDOT Guidelines, they would still be unconstitutional.”
        (emphasis added). There is no way to read this allegation as
        anything other than a contention that defendants’ policies are
        unconstitutional no matter how they are applied. In the


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               The majority also argues that “[n]one of the[] five questions of fact
        or law [presented by plaintiffs] challenges a written law or policy as
        unconstitutional.” Majority Opinion at 8–9. This is puzzling, as the
        majority makes this assertion after enumerating several practices, policies,
        and customs challenged by plaintiffs as unconstitutional.
Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 16 of 19




        16              WILLIS V. CITY OF SEATTLE

        language of Patel, this was an unambiguous assertion that
        defendants’ policies are unconstitutional “in all of [their]
        applications.” Patel, 135 S. Ct. at 2451 (quotation marks
        omitted). Plaintiffs were not required to incant magic words,
        and the pleading undoubtedly gave defendants fair notice of
        plaintiffs’ facial claims.

            Plaintiffs’ facial challenges were not afterthoughts raised
        for the first time in their motions for class certification or
        preliminary injunction; they were included in the operative
        complaint. See Updike v. Multnomah Cty., 870 F.3d 939, 952
        (9th Cir. 2017) (observing that Fed. R. Civ. P. 8(a)(2)
        requires only that “allegations in the complaint give the
        defendant fair notice of what the plaintiff’s claim is and the
        grounds upon which it rests” (internal quotation marks
        omitted)). Plaintiffs’ Second Amended Complaint includes
        the allegation that defendants’ policy allowing the destruction
        of property valued at less than $100 cannot be carried out in
        a constitutional manner—i.e., the policy is unconstitutional in
        all relevant applications. See Brief of Civil Procedure
        Professors as Amici Curiae In Support of Plaintiffs-
        Appellants, at 7 (citing Mathews v. Eldridge, 424 U.S. 319
        (1976), and observing “due process challenges to government
        policies . . . lend themselves to class certification because
        they often raise generic questions about how system-wide
        procedures impact a group of people who depend on those
        procedures for relief”). Plaintiffs’ due process argument is
        certainly colorable. Whether plaintiffs could ultimately
        prevail is beside the point. Rule 23(a)’s commonality inquiry
        is concerned with whether the facial validity of the policy
        raises a common question that can be resolved in one stroke,
        and this one plainly can.
Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 17 of 19




                         WILLIS V. CITY OF SEATTLE                    17

            The majority contends that “[n]o such cognizable
        argument [concerning the $100 policy] appears in the
        operative complaint.”       Majority Opinion at 11 n.2.
        Unquestionably, it does. In a section of the complaint entitled
        “Defendants’ Official Policies Governing Sweeps are
        Unconstitutional,” the complaint identifies a laundry list of
        policies that plaintiffs contend violate due process even if
        “conducted fully in accordance with” defendants’ official
        policies. In a subsection entitled “Defendants’ Official
        Policies Fail to Provide for Adequate and Effective Notice,”
        the complaint describes how the notice requirements of the
        MDAR and WSDOT Guidelines were constitutionally
        deficient. There, the complaint specifically identifies the
        policy allowing for the destruction of property valued at less
        than $100 as an exception to the guidelines’ notice
        requirements that “on [its] face make[s] it impossible for
        people living outside to safely live and store their belongings
        without constant risk that everything will be taken from them
        with no notice.”

            The majority takes issue with plaintiffs’ contention that
        defendants’ policies grant too much discretion to employees
        tasked with clearing camps. But it does not adequately
        explain why a facial challenge alleging that public officials
        have been given too much discretion cannot supply a
        common question for purposes of Rule 23(a). See Brief of
        Civil Procedure Professors as Amici Curiae In Support of
        Plaintiffs-Appellants, at 9 (observing that plaintiffs contend
        defendants’ policies are impermissibly vague and opining that
        this case “raises system-wide questions about the
        constitutionality of a government policy, [and] is precisely
        the kind of suit that will allow the court to answer . . . claims
        ‘in one stroke’”). The majority relies on a flawed extension
        of Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011).
Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 18 of 19




        18               WILLIS V. CITY OF SEATTLE

        Majority Opinion at 11–12. In Dukes, the plaintiffs did not
        allege the corporate policy granted managers too much
        discretion; they alleged that store managers discriminated on
        the basis of sex. 564 U.S. at 343–45. Their attempt to certify
        a class failed because there was no common issue regarding
        the managers’ individual decisions. Id. at 349–55. Here,
        plaintiffs do not allege the discriminatory application of a
        discretionary policy; they allege—among other things—that
        defendants’ official policy fails to satisfy due process
        regardless of how it is applied. Plaintiffs’ contentions were
        not so indistinct that they did not warrant consideration.

            Rule 23 provides a “means of vindicating the rights of
        groups of people who individually would be without effective
        strength to bring their opponents into court at all.” Benjamin
        Kaplan, A Prefatory Note, 10 B.C. Indus. & Com. L. Rev.
        497, 497 (1969). It provides a critical procedural device for
        important cases like this one. Among other allegations,
        plaintiffs argue their due process rights were violated by a
        written policy providing that seized property did not need to
        be stored if it was valued at less than $100. Plaintiffs’ as-
        applied challenges illustrated this policy’s real world
        consequences, including examples in which putative class
        members were left without their identification or
        medication—including insulin. It is not hard to imagine the
        Catch-22 nightmare of being denied life-sustaining benefits
        for failure to show proof of identification, and being unable
        to obtain replacement identification because all of one’s
        worldly possessions were lost in a camp sweep.

             In recent years, class action litigation has more often been
        initiated to vindicate large numbers of small-dollar consumer
        claims, but as the amici curiae civil procedure professors
        explain, courts have long recognized that facial constitutional
Case 2:17-cv-00077-RSM Document 224 Filed 11/29/19 Page 19 of 19




                         WILLIS V. CITY OF SEATTLE                   19

        challenges present the archetypal common question for class
        certification. See Brief of Civil Procedure Professors as
        Amici Curiae In Support of Plaintiffs-Appellants, at 7–9.
        Where a proposed class faces substantial harm caused by a
        governmental policy, Rule 23 can provide an effective
        vehicle for determining whether the policy, on its face,
        violates the federal Constitution. Such facts present issues
        ripe for class action resolution because they can “resolve an
        issue that is central to the validity of each one of the claims
        in one stroke.” See Dukes, 564 U.S. at 350.

            The district court concluded that plaintiffs were not likely
        to succeed on the merits of their facial challenges and denied
        plaintiffs’ motions in an order that focused entirely on their
        failure to offer evidence of the common practices they
        challenged on an as-applied basis. The court did not rule on
        the antecedent question posed by plaintiffs’ motion to certify
        the proposed class: whether plaintiffs’ facial claims presented
        common questions for Rule 23(a) purposes. Because the
        order denying class certification made no mention of
        plaintiffs’ facial claims, I would remand for the district court
        to consider this issue in the first instance. See Edwards v.
        First Am. Corp., 798 F.3d 1172, 1177 (9th Cir. 2015) (legal
        errors in class certification orders are “per se” abuses of
        discretion).
